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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


    Symbology Innovations LLC
    Plaintiff,

    v.                                           Case No. 6:16-cv-02197-PGB-KRS (Lead
    Case)

    Bath & Body Works Direct, Inc.
    Defendant.


                     Amended Case Management Report in Patent Cases

            The parties have agreed on the following dates and discovery plan pursuant to

    Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):

     DEADLINE OR EVENT (with Court recommended time frame)                      AGREED DATE


     Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P. 26(a)(1) as        5/22/17
     amended effective December 1, 2000) [no later than date of Preliminary
     Pretrial Conference]

     Certificate of Interested Persons and Corporate Disclosure Statement       5/15/17
     [within 1 week of above if not already completed]

     Motions to Add Parties or Amend Pleadings [3 months after CMR              8/8/17
     meeting]

     Disclosure of Infringement Contentions                                     6/8/17
     [1 month after CMR meeting]

     Disclosure of Non-Infringement and Invalidity Contentions                  8/10/17
     [within 1 month of above]

     Initial Identification of Disputed Claim Terms                             9/11/17
     [within 1 month of above]




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     Proposed Claim Term Constructions [within 1 month of above]                  10/11/17

     Joint Claim Construction Statement [within 2 weeks of above]                 10/25/17

     Technology Tutorial Conference [within 2 – 4 weeks of above]                 11/15/17

     Plaintiff’s Claim Construction Brief [within 1 month of above]               12/13/17

     Defendant’s Response Brief [within 1 month of above]                         1/10/18

     Joint Pre-Hearing Statement [within 1 week of above]                         1/17/18

     Claim Construction Hearing [within 3 weeks of above]                         2/7/18

     Disclosure of Intent to Rely on Advice of Counsel as a Defense;         6/27/18
     Amendment of Infringement, Non-Infringement and Invalidity
     Contentions; and Disclosure of Expert Reports on Issues Where the Party
     Bears the Burden of Proof
     [no sooner than 3 months and no later than 5 months of above]

     Disclosure of Rebuttal Expert Reports [within 1 month of above]              7/25/18

     Fact Discovery Deadline [within 2 months of Amendments]                      8/29/18

     Expert Discovery Deadline [within 1 month of above]                          10/26/18

     Dispositive Motions                                                          11/21/18
     [within 2 months of above and at least 4 – 5 months prior to trial]

     Parties’ Deadline to Meet and Confer In Person to Prepare Joint              Pending Trial
     Final Pretrial Statement [10 days prior to deadline for the final pretrial   Date
     statement]

     Parties’ Deadline for Filing Joint Final Pretrial Statement (Including       Pending Trial
     Voir Dire Questions, a Single Set of Jointly-Proposed Jury Instructions      Date
     and Verdict Form (also email to:
     chambers_FLMD_Byron@flmd.uscourts.gov), Witness Lists, Exhibit
     Lists with Objections on Approved Form); Trial Briefs




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     Parties’ Deadline for Filing All Other Motions Including Motions In        Pending Trial
     Limine [All requests to limit evidence shall be included in a single       Date
     motion not to exceed 25 pages without leave of Court. Responses are
     limited to 20 pages without leave of Court.

     Final Pretrial Conference [Court will set a date approximately 3           Pending Trial
     weeks before trial]                                                        Date

     Trial Term Begins [Local Rules set goal of trial within 2 years in all     Pending Trial
     Track Two cases; trial term must not be less than 4 months after           Date
     dispositive motions deadline (unless filing of such is waived.]

     Estimated Length of Trial [trial days]                                     5 days

     Jury / Non-Jury                                                            Jury

     MEDIATION                                            Deadline:             11/15/2018
                                                          Mediator:             Parties will be
                                                          Address:              discussing
                                                                                potential
                                                          Telephone:            mediators and will
                                                                                submit a proposal
     [Absent arbitration, mediation is mandatory; either 2 -3 months after      to this Court no
     CMR meeting or just after discovery deadline]                              later than 60 days
                                                                                before         the
                                                                                mediation
                                                                                deadline.

     All Parties Consent to Proceed Before Magistrate Judge                     Yes___ No X
                                                                                Likely to Agree
                                                                                in Future______




    I.     Meeting of Parties in Person

           Lead counsel must meet in person and not by telephone absent an order permitting

    otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

    different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), a meeting was held




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    in person on May 5th, 2017 at counsel for Plaintiff’s offices at 390 N. Orange Ave,

    Orlando, Florida at 12:00 p.m. and was attended by:

    Name                                                          Counsel for (if applicable)

    In person:

    Judith M. Mercier, counsel for The Northern Trust Company

    Jean G. Vidal and Sonia Colon, counsel for Symbology Innovations LLC

    By telephone:

    Eugenio Torres, counsel for Symbology Innovations LLC

    Eleanor Barnett and Theresa Dawson, counsel for Circle K and Mattel, Inc.1

    Margaret M. Duncan, counsel for The Northern Trust Company

    II.     Pre-Discovery Initial Disclosures of Core Information

            Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

            Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these

    disclosures are mandatory in Track Two and Track Three cases, except as stipulated by the

    parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes Middle

    District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the mandatory

    discovery requirements):

            The parties __ have exchanged           X       agree to exchange (check one) information

    described in Fed.R.Civ.P. 26(a)(1)(A) - (D) by 5/22/17.

    Below is a description of information disclosed or scheduled for disclosure.



    1
     Counsel Barnett did travel to Orlando to attend in-person, but due to circumstances beyond her control,
    her flight was delayed and so she joined the meeting by telephone from the Orlando International Airport.




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    III.       Electronic Discovery

               The parties have discussed issues relating to disclosure or discovery of

    electronically stored information ("ESI"), including Pre-Discovery Initial Disclosures of

    Core Information in Section II above, and agree that (check one):

               __ no party anticipates disclosure or discovery of ESI in this case;

                X one or more of the parties anticipate disclosure or discovery of ESI in this

               case.

               If disclosure or discovery of ESI is sought by any party from another party, then

    the following issues shall be discussed2:

               A.      The form or forms in which ESI should be produced.

               B.      Nature and extent of the contemplated ESI disclosure and discovery,

    including specification of the topics for such discovery and the time period for which

    discovery will be sought.

               C.      Whether the production of metadata is sought for any type of ESI, and if

    so, what types of metadata.

               D.      The various sources of ESI within a party's control that should be searched

    for ESI, and whether either party has relevant ESI that it contends is not reasonably

    accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

    and reviewing that information.




    2
        See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.




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           E.      The characteristics of the party's information systems that may contain

    relevant ESI, including, where appropriate, the identity of individuals with special

    knowledge of a party's computer systems.

           F.      Any issues relating to preservation of discoverable ESI.

           G.      Assertions of privilege or of protection as trial-preparation materials,

    including whether the parties can facilitate discovery by agreeing on procedures and, if

    appropriate, an Order under Federal Rules of Evidence Rule 502. If the parties agree that

    a protective order is needed, they shall attach a copy of the proposed order to the Case

    Management Report. The parties should attempt to agree on protocols that minimize the

    risk of waiver. Any protective order shall comply with Local Rule 1.09 and Section IV.F.

    below on Confidentiality Agreements.

           H.      Whether the discovery of ESI should be conducted in phases, limited, or

    focused upon particular issues.

           Please state if there are any areas of disagreement on these issues and, if so,

    summarize the parties' positions on each:

           The Parties agree to the terms in the proposed E-Discovery Order (attached

           as Exhibit A).

    If there are disputed issues specified above, or elsewhere in this report, (check one):

    ___ one or more of the parties requests that a preliminary pre-trial conference

    under Rule 16 be scheduled to discuss these issues and explore possible resolutions.




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    Although this will be a non-evidentiary hearing, if technical ESI issues are to be

    addressed, the parties are encouraged to have their information technology experts with

    them at the hearing.

           If a preliminary pre-trial conference is requested, a motion shall also be filed

    pursuant to Rule 16(a), Fed.R.Civ.P.

               X all parties agree that a hearing is not needed at this time because they expect

    to be able to promptly resolve these disputes without assistance of the Court.

    IV.    Agreed Discovery Plan for Plaintiffs and Defendants

           A.       Certificate of Interested Persons and Corporate Disclosure Statement

           This Court has previously ordered each party, governmental party, intervenor,

    nonparty movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons

    and Corporate Disclosure Statement using a mandatory form. No party may seek discovery

    from any source before filing and serving a Certificate of Interested Persons and Corporate

    Disclosure Statement. A motion, memorandum, response, or other paper “including

    emergency motion” is subject to being denied or stricken unless the filing party has

    previously filed and served its Certificate of Interested Persons and Corporate Disclosure

    Statement. Any party who has not already filed and served the required certificate is

    required to do so immediately.

           Every party that has appeared in this action to date has filed and served a

    Certificate of Interested Persons and Corporate Disclosure Statement, which remains

    current:     X Yes _______ No

           Amended Certificate will be filed by _________ (party) on or before _____ date).




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           B.      Discovery Not Filed

           The parties shall not file discovery materials with the Clerk except as provided in

    Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

    See Local Rule 3.03 (f). The parties further agree as follows:

           The parties agree to accept service of discovery requests and responses via

    electronic mail.

           Unless good cause is shown the Parties shall not be required to log any

    privileged documents created on or after the commencement of the lawsuits.

           C.      Limits on Discovery

           The parties stipulate to the following limits on discovery:

           a)      Plaintiff may serve up to 10 common interrogatories as to all

                   consolidated Defendants, and an additional 15 interrogatories

                   separately on each Defendant. The consolidated Defendants may

                   collectively serve up to 10 common interrogatories on Plaintiff, and

                   each Defendant may serve separately up to 15 additional

                   interrogatories on Plaintiff;

           b)      There is no limit on the number of requests for admission the parties

                   may serve to establish the authenticity of documents. Requests for

                   admission directed to document authentication shall be clearly denoted

                   as such. In addition, Plaintiff may serve up to 30 common requests for

                   admission as to all consolidated Defendants and an additional 15

                   requests for admission separately on each Defendant. Similarly, the




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                  consolidated Defendants may collectively serve up to 30 common

                  requests for admission on Plaintiff, and each Defendant may serve

                  separately up to 15 requests for admission on Plaintiff;

           c)     Depositions of 30(b)(6) representatives and/or employees of the parties.

                  No one entity or its employees may be deposed more than 30 hours

                  collectively;

           d)     There are no limits on the number of depositions upon written

                  questions of custodians of business records for third parties taken

                  pursuant to Rule 31;

           e)     Each party may take up to 60 hours of nonparty depositions; and

           f)     Each party may take up to seven (7) hours of deposition testimony of

                  an opposing party’s expert for each issue (e.g., validity, infringement,

                  damages) addressed by that expert in their report.

           Unless otherwise agreed, the daily limit of seven (7) hours shall apply to all

    depositions. Time toward the daily limit of seven (7) hours will count whether used in

    direct examination or cross-examination of any witness. Unless otherwise agreed,

    depositions of defendants and their employees shall take place in the deponent’s city

    of residence and at a mutually agreeable time for the parties. Counsel should confer

    in advance to schedule depositions at mutually convenient times and places.

           Any party may later move to modify these limitations for good cause.




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            D.      Discovery Deadline

            Each party shall timely serve discovery requests so that the rules allow for a

     response prior to the discovery deadline. The Court may deny as untimely all motions to

     compel filed after the discovery deadline. In addition, the parties agree as follows:

            No further agreement.

            E.      Disclosure of Expert Testimony

            On or before the dates set forth in the above table for the disclosure of expert

     reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

     testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

     and other information disclosed in the written expert report disclosed pursuant to this order.

     Failure to disclose such information may result in the exclusion of all or part of the

     testimony of the expert witness. The parties agree on the following additional matters

     pertaining to the disclosure of expert testimony:

            Each party is limited to three testifying experts at trial per opposing party.

            F.      Confidentiality Agreements

            Whether documents filed in a case may be filed under seal is a separate issue from

     whether the parties may agree that produced documents are confidential. The Court is a

     public forum, and disfavors motions to file under seal. The Court will permit the parties to

     file documents under seal only upon a finding of extraordinary circumstances and

     particularized need. See Brown v. Advantage Engineering, Inc., 960 F.2d 1013 (11th

     Cir.1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir. 1985). A party

     seeking to file a document under seal must file a motion to file under seal requesting such




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     Court action, together with a memorandum of law in support. The motion, whether granted

     or denied, will remain in the public record. The parties may reach their own agreement

     regarding the designation of materials as “confidential.” There is no need for the Court to

     endorse the confidentiality agreement. The Court discourages unnecessary stipulated

     motions for a protective order. The Court will enforce appropriate stipulated and signed

     confidentiality agreements. See Local Rule 4.15. Each confidentiality agreement or order

     shall provide, or shall be deemed to provide, that “no party shall file a document under seal

     without first having obtained an order granting leave to file under seal on a showing of

     particularized need.” With respect to confidentiality agreements, the parties agree as

     follows:

             The Parties are working together to prepare a joint stipulated protective

             order. The Parties agree not to propound discovery until such stipulated

             protective order is entered.

             G.       Other Matters Regarding Discovery

             None

     VI.     Settlement and Alternative Dispute Resolution.

             A.       Settlement

             The parties agree that settlement is _____ likely X      unlikely (check one)

             The parties request a settlement conference before a United States Magistrate

     Judge

             ___yes    X    no ____ likely to request in future




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            B.      Arbitration

            The Local Rules no longer designate cases for automatic arbitration, but the

     parties may elect arbitration in any case. Do the parties agree to arbitrate?

            __yes     X     no     likely to agree in future

     _______ Binding ________ Non-Binding

            C.      Mediation

            Absent arbitration or a Court order to the contrary, the parties in every case will

     participate in Court-annexed mediation as detailed in Chapter Nine of the Court’s Local

     Rules. The parties have agreed on a mediator from the Court’s approved list of mediators

     as set forth in the table above, and have agreed to the date stated in the table above as the

     last date for mediation. The list of Court approved mediators is available from the Clerk

     and is posted on the Court’s web site at http://www.flmd.uscourts.gov

            D.      Other Alternative Dispute Resolution

     The parties intend to pursue the following other methods of alternative dispute resolution:

            None.




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     Date: May 10, 2017

     Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
     Unrepresented Parties.

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